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                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND

 VELMA M. MELTON,
                                      Plaintiff,
                vs.
                                                       Case No. 8:19-cv-00209-TDC
 SELECT PORTFOLIO SERVICING,
 INC. et al.,
                      Defendants.




            DEFENDANT SELECT PORTFOLIO SERVICING, INC.’S
      RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR SANCTIONS

       Defendant Select Portfolio Servicing, Inc. (“SPS”) respectfully submits this response in

opposition to Plaintiff Velma Melton’s (“Plaintiff”) motion for sanctions (Dkt. No. 109).

Inexplicably, Plaintiff filed the instant motion for sanctions despite losing her motion to compel

(Dkt. No. 82) and after SPS prevailed on its motion for protection from Plaintiff’s improper three-

day deposition notice containing 94 topics (Dkt. No. 81). This is Plaintiff’s fourth filing related to

a discovery dispute that she self-engineered. (See Dkt. Nos. 82, 92, 109, & 110). Plaintiff’s motive

appears aimed at driving up litigation costs with the hopes of leveraging those costs for an

increased settlement offer rather than for any legitimate purpose under the Federal Rules of Civil

Procedure. Indeed, the Court already held that SPS properly sought a protective order from the

Rule 30(b)(6) deposition notice at issue, and included guidance on where the deposition was to be

held. Thus, if anyone is guilty of abusing the discovery process, it is Plaintiff. She is not entitled

to sanctions. Plaintiff’s motion should be denied, and, pursuant to Rule 37(a)(5)(B), SPS should

be awarded its costs and fees for opposing it.




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                      PROCEDURAL AND FACTUAL BACKGROUND

       On August 26, 2019, Plaintiff emailed SPS’ counsel a Rule 30(b)(6) deposition notice

identifying ninety-four discrete topics and requesting that SPS produce eighteen categories of

related documents (the “Notice”). (See Not. of Dep., attached as Exhibit A.) The Notice stated

that the deposition was to take place in Salt Lake City, Utah over the course of three days,

beginning on September 24, 2019. (Id.) While Plaintiff’s counsel provided several possible dates

prior to issuing the Notice, the parties had not agreed on a specific date. (See Ex. B, 9/19/19

Email.) Moreover, when the parties discussed possible dates and given the hour limits for

depositions, SPS and its counsel were unaware that Plaintiff intended to schedule a three-day

deposition covering ninety-four topics. (See, e.g., Order dated July 31, 2019 (Dkt. No. 66) at p.

1, note 2, referencing total deposition hour limits and stating: “Presumably, Plaintiff anticipates

taking brief depositions.”)

       On September 18, 2019, the undersigned sent Plaintiff’s counsel a letter outlining SPS’

objections to the Notice, including its overly broad scope and its request to take a three-day

deposition. (Ex. C, 9/18/19 Ltr.) The letter informed Plaintiff that SPS would seek a protective

order if Plaintiff did not narrow the deposition’s scope and shorten its length. (Id.) It also informed

Plaintiff that SPS could not produce a witness to cover the ninety-four proposed topics on

Plaintiff’s unilaterally selected dates, and it proposed alternative dates along with the offer to

produce a witness in Washington D.C. or Maryland at SPS’ expense. (Id.) After SPS’s counsel

conferred with counsel for Plaintiff, she refused to make any modifications to her Notice, which

forced SPS to file its motion for a protective order on September 19, 2019. (Dkt. No. 81.) On

October 2, 2019, Plaintiff filed a motion to compel, which challenged nearly all of SPS’ written

discovery responses. (Dkt. No. 82.)



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         On October 28, 2018, Magistrate Judge Sullivan issued an order denying Plaintiff’s motion

to compel and substantially granting SPS’s motion for protection. As contended by SPS, Judge

Sullivan held that Plaintiff was not entitled to a three-day deposition and, instead, limited the

deposition to “one day of 7 hours.” (Dkt. No. 90.) Judge Sullivan also limited the scope of the

deposition from ninety-four topics to fifty-seven. (Id.) Judge Sullivan ordered Plaintiff to confer

with SPS on a mutually agreeable date for a deposition to take place in Washington, D.C. (Id.)1

SPS fully complied with Judge Sullivan’s order by producing a Rule 30(b)(6) witness that was

deposed on December 4, 2019. SPS paid for its witness’ travel and hotel expenses from Salt Lake

City, Utah to Rockville, MD, incurring $1,076.76 for airfare, hotel, rental car and other travel

expenses.

                                          ARGUMENT

         Rule 37(d) only authorizes a Court to award sanctions to a moving party if the other party

“fails, after being served with a proper notice, to appear for that person’s deposition.” Fed. R.

Civ. P. 37(d)(1)(A)(i) (emphasis added). When a party is served with a deposition notice that it

believes is improper, the Federal Rules authorize that party to file a motion for a protective order.

Fed. R. Civ. P. 26(c); see also Proa v. NRT Mid-Atlantic, Inc., No. AMD-05-2157, 2008 WL

11363286, at *10 (D. Md. June 20, 2008) (holding that when a party believes a “deposition is

improper, the non-moving party may ask the court for a protective order”). “Motions for protective

orders may object to the timing and/or extent of the 30(b)(6) depositions.” Id. (quoting Wilson v.

Lakner, 228 F.R.D. 524, 530 (D. Md. 2005). While a motion for a protective order is pending, the

party seeking protection is excused from attending the noticed deposition. Fed. R. Civ. P. 37(d)(2)



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    Judge Chuang affirmed Judge Sullivan’s order on January 8, 2020. (Dkt. No. 108.)


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(stating that a “pending motion for a protective order under Rule 26(c)” is an acceptable excuse

for not attending a noticed deposition); see also Carr v. Double T. Diner, 272 F.R.D. 431, 433 (D.

Md. 2010) (“[A] party from whom discovery is sought may move for a protective order to avoid a

deposition . . . .”).

        This District Court has made clear that the “pendency of a motion for protective order”

excuses a party from attending a deposition regardless of when and how that motion is decided.

Columbia Gas Transmission, LLC v. 252.071 Acres, More or Less, in Baltimore County,

Maryland, No. ELH-15-3462, 2016 WL 7167979, at *2 (D. Md. Dec. 8, 2016) (emphasis in

original). In Columbia Gas, Columbia moved for a protective order approximately one month

after the defendant noticed a Rule 30(b)(6) deposition and only a few days before that deposition

was scheduled to take place. Id. at *1. Columbia then refused to produce a witness on the date of

the noticed deposition even though its motion for a protective order was still pending. Id. The

defendant sought sanctions against Columbia for failing to attend. Id. at *2. Columbia opposed

the request for sanctions based on the fact that it had a pending motion for protection. The Court

held that “Columbia is right.” Id. “Federal Rule of Civil Procedure 37(d)(2) excuses a party

properly served with notice of a Rule 30(b)(6) deposition from appearing at the deposition if that

party ‘has a pending motion for protective order under Rule 26(c).” Id. “As such, sanctions are

unwarranted.” Id.

        Here, SPS moved for a protective order prior to the deposition that Plaintiff noticed to

begin on September 24, 2019. Plaintiff’s counsel did not confirm the deposition date before

purchasing his plane ticket. He also failed to purchase a refundable ticket even though he knew

the parties had been engaged in a discovery dispute over Plaintiff’s writen discovery requests since

June 24, 2019. (See Dkt. Nos. 82, 92, 109, & 110.) The scope of the deposition Notice mirrored



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the scope of Plaintiff’s written discovery requests that were in dispute. (See Dkt. No. 82.) As

noted by the Court, “SPS properly moved for a protective order before the date of the deposition.”

As such, it was excused from attending the deposition under Rule 37(d), and Plaintiff cannot

recover sanctions. See Columbia Gas Transmission, LLC, 2016 WL 7167979, at *2.

       Moreover, Plaintiff is not entitled to sanctions under Rule 37(d) because her Notice was

improper and she did not prevail against SPS’ motion for protection. See Fed. R. Civ. P. 37(d).

Plaintiff unilaterally noticed SPS’ Rule 30(b)(6) deposition for September 24-26, 2019. (Notice.)

Plaintiff did not have a stipulation or court order allowing a three-day deposition. Thus, Plaintiff’s

Notice violated Rule 30(d)(1), which states that “a deposition is limited to one day of 7 hours”

“[u]nless otherwise stipulated or ordered by the court.” Fed. R. Civ. P. 3(d)(1). Further, in granting

SPS’ motion for a protective order, this Court held that there was no justification for extending the

duration of the deposition beyond the one day of 7 hours allowed under the rules. Additionally,

the Court held that the Notice was overly broad, sought irrelevant information, and was not

proportional to the needs of this case. (Dkt. No. 90 at pp. 5-7.) Accordingly, it narrowed, the scope

of the Notice from ninety-four topics to fifty-seven. (Id. at pp. 5-7.) Because Plaintiff’s Notice

was improper, she cannot recover sanctions under Rule 37(d). Her motion should be denied.

       Additionally, as noted above, this is at least Plaintiff’s fourth filing related to this self-

created discovery dispute. She had no justification for seeking sanctions related to a deposition

Notice that the Court shortened by two full days and narrowed from ninety-four topics to fifty-

seven, especially when SPS later provided a witness, at its own cost, in the venue where Plaintiff’s

counsel is located, i.e., Montgomery County, MD. Plaintiff has made abundantly clear that her

discovery tactics are aimed at forcing settlement rather than preparing for trial. Because her motion

for sanctions must be denied, the Court should award SPS its costs and fees for defending against



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it. Fed. R. Civ. P. 37(a)(5)(B) (“If the motion is denied, the court . . . must, after giving an

opportunity to be heard, require the movant, the attorney filing the motion, or both to pay the party

or deponent who opposed the motion its reasonable expenses incurred in opposing the motion,

including attorneys’ fees.”).



                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiff’s motion for sanctions and award

SPS its costs and attorneys’ fees for defending against her motion.

                                              Respectfully submitted,
January 31, 2020
                                                     /s/ Mary S. Diemer
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                                 CERTIFICATE OF SERVICE

         I certify that on this 31st day of January, 2020, copies of Select Portfolio Servicing, Inc.’s
Response to Motion to Compel were served by CM/ECF to all registered counsel of record and by
first class U.S. Mail, postage prepaid and email to the following:


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